                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )       No.:    3:13-CR-45-TAV-CCS-14
                                                )
CASSAUNDRIA NICHOLE SWEAT,                      )
                                                )
               Defendant.                       )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se motion for early

termination of supervised release [Doc. 1687]. On October 9, 2013, this Court sentenced

the defendant to a term of imprisonment of seventy-five months, followed by a three-year

term of supervised release for her conviction of conspiracy to manufacture five grams or

more of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B) [Doc.

664]. On June 4, 2015, the Court reduced the defendant’s sentence to thirty-two months’

imprisonment [Doc. 1443].

        Section 3583(e)(1), United States Code, title 18, provides that:

               The court may, after considering the factors set forth in section
               3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6),
               and (a)(7)--

               (1)    terminate a term of supervised release and discharge the
                      defendant released at any time after the expiration of
                      one year of supervised release, pursuant to the
                      provisions of the Federal Rules of Criminal Procedure
                      relating to the modification of probation, if it is satisfied




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                     that such action is warranted by the conduct of the
                     defendant released and the interest of justice[.]

18 U.S.C. § 3583(e)(1).

       In support of her motion for early termination of supervised release, the defendant

asserts that she struggled with drug addiction for many years, but she has made significant

changes in her life since her arrest. The defendant has four children, and she has lost

custody of three of her children due to her drug abuse. She recently became reconciled

with her youngest daughter, and they are beginning to build a relationship. The defendant

states that she no longer associates with drug users, and she has passed every drug screen

during her term of supervised release. She has maintained steady employment and even

received a promotion. The defendant says that her arrest saved her life. The government

and Probation have informed the Court that they do not oppose her request for early

termination of supervised release.

       After carefully considering the requirements of the statute, the Court finds that the

relevant portions of 18 U.S.C. § 3553(a) support early termination of the defendant’s

supervised release. In support of this determination, the Court notes that the defendant has

completed more than half of her term of supervised release, that the defendant has been

taking steps to improve her prospects for the future, and that she has been compliant with

terms of release.

       In sum, the Court “is satisfied that [early termination] is warranted by the conduct

of the defendant released and the interest of justice,” 18 U.S.C. § 3583(e)(1), and hereby


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GRANTS the defendant’s motion [Doc. 1687]. The defendant’s supervised release is

hereby TERMINATED.

      IT IS SO ORDERED.


                               s/ Thomas A. Varlan
                               CHIEF UNITED STATES DISTRICT JUDGE




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